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FILED (DROP BOX)
AUG 10 2009

SEALED

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

AMAZON.COM, INC., a Delaware 20-C V - i 2 i 5 1
No.

corporation; and J.L. CHILDRESS CO., INC.,

Plaintiffs, COMPLAINT FOR DAMAGES
AND EQUITABLE RELIEF
v.
TANG ZHI, an individual, d/b/a Kelvee; [FILED UNDER SEAL]

JIELONG ZHENG, an individual, d/b/a Kelvee;
ZHENG SONG JIANG, an individual, a/k/a
Songjiang Zheng, d/b/a Mibim; PAN YONG
JIE, an individual, d/b/a Haioumo; ZHAO
YINHANG, an individual, d/b/a Baby Artifact;
ZHANG QI, an individual, d/b/a Baby Artifact;
LI SHUANG YIN, an individual, d/b/a Baby
Artifact; SUUAN YUADN, an individual, d/b/a
Baby Artifact; CHEN GUANGZHAO, an
individual, d/b/a Ceciltga; CAROLYN
MEYER, an individual, d/b/a Ceciltga; ZHANG
JIN YONG, an individual, d/b/a Spenceria; and

 

 

DOES 1-10,
Defendants.
IL INTRODUCTION
1. This case involves the Defendants’ unlawful and expressly prohibited sale of

counterfeit J.L. Childress Co., Inc. (“J.L. Childress”) childcare travel accessories on
Amazon.com. Amazon and J.L. Childress jointly bring this lawsuit to permanently prevent and
enjoin Defendants from causing future harm to Amazon’s and J.L. Childress’ customers,

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reputations, and intellectual property, and to hold Defendants accountable for their illegal
actions.

2. The Amazon stores offer products and services to customers in more than 100
countries around the globe. Some of the products are sold directly by Amazon, while others are
sold by Amazon’s numerous third-party selling partners. The Amazon brand is one of the most
well-recognized, valuable, and trusted brands in the world. In order to protect customers and
safeguard its reputation for trustworthiness, Amazon invests heavily in both time and resources
to prevent counterfeit goods from being sold in its stores.

3. Jan Childress founded J.L. Childress more than thirty years ago after identifying
a need for products to assist parents like herself in meeting the demands of working full time
while caring for a baby. Today, her two daughters, Kate and Sarah, co-own J.L. Childress and
oversee its daily operations. J.L. Childress offers a range of parenting products and accessories
tailored for the unique needs of modern parents. With a line of more than forty products
distributed both domestically and internationally, J.L. Childress is a worldwide leader in the
juvenile product industry. Products made by J.L. Childress include travel bags for strollers and
car seats, portable changing pads, insulated bottle coolers, stroller organizers and accessories,
and nursery and first aid accessories for babies. J.L. Childress products are sold internationally,
as well as in major U.S. retailers such as Amazon.com. The J.L. Childress brand symbolizes
not only high-quality and multi-functional products for parenting on-the-go, but also the
authenticity and hard work of a real family: the Childress Family.

4. J.L. Childress owns, manages, enforces, licenses, and maintains intellectual
property, including various trademarks. Relevant to this Complaint, J.L. Childress owns a
trademark for “JL Childress,” Trademark No. 5,186,356, for use in connection with childcare

travel accessories, among other goods (the “J.L. Childress trademark”):

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Mark Registration No. (International Classes)

 

Reg. No. 5,186,356 (IC 018)
CHILDRESS

 

 

 

 

A true and correct copy of the registration certificate for the J.L. Childress trademark is
attached as Exhibit A.

5. Every J.L. Childress product is not only marked with the brand’s registered
trademark logo, but also includes a personal letter from. the Childress Family printed on the
packaging. This personal greeting starts with “Hi, We’re the Childress Family!” and thanks
every customer who buys a J.L. Childress product for their support of this family-run, women-
owned and truly entrepreneurial company. The J.L. Childress logo itself captures part of
founder Jan Childress’ signature, as her hand-written initials “j” and “I” curve together. J.L.
Childress is more than just a brand. It is a mother’s name and a family’s legacy.

6. From 2018 to 2020, Defendants advertised, marketed, offered, and sold
counterfeit J.L. Childress products in the Amazon stores, using J.L. Childress’ registered
trademarks, without authorization, to deceive customers about the authenticity and origin of the
products and the products’ affiliation with J.L. Childress.

7. As a result of their illegal actions, Defendants have infringed and misused J.L.
Childress’ intellectual property (“IP”), willfully deceived and harmed Amazon, J.L. Childress,
and their customers, compromised the integrity of Amazon’s stores, and undermined the trust
that customers place in Amazon and J.L. Childress. Defendants’ illegal actions have caused
Amazon and J.L. Childress to expend significant resources to investigate and combat
Defendants’ wrongdoing and to bring this lawsuit to prevent Defendants from inflicting future
harm to Amazon, J.L. Childress, and their customers.

II. PARTIES
8. Amazon.com, Inc. is a Delaware corporation with its principal place of business

in Seattle, Washington. Through its subsidiaries, Amazon.com, Inc. owns and operates the

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Amazon.com website, counterpart international websites, and Amazon stores (collectively,
“Amazon”).

9. J.L. Childress is a California corporation with its principal place of business in
Orange, California.

10. Defendants are a collection of individuals, both known and unknown, that
conspired and operated in concert with each other to engage in the counterfeiting scheme
alleged in this Complaint.

11. On information and belief, Defendant Tang Zhi (“Tang”), d/b/a Kelvee, is an

individual who resides in China who personally participated in and/or had the right and ability

_ to supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

direct financial benefit from that wrongful conduct.

12, On information and belief, Defendant Jielong Zheng (“J. Zheng”), d/b/a Kelvee,
is an individual who resides in China who personally participated in and/or had the right and
ability to supervise, direct, and control the wrongful conduct alleged in this Complaint, and
derived a direct financial benefit from that wrongful conduct.

| 13. On information and belief, Defendant Zheng Song Jiang (“J.S. Zheng”), d/b/a
Mibim, is an individual who resides in China who personally participated in and/or had the
right and ability to supervise, direct, and control the wrongful conduct alleged in this |
Complaint, and derived a direct financial benefit from that wrongful conduct.

14, On information and belief, Defendant Pan Yong Jie (“Pan”), d/b/a Haioumo, is .
an individual who resides in China who personally participated in and/or had the right and
ability to supervise, direct, and control the wrongful conduct alleged in this Complaint, and
derived a direct financial benefit from that wrongful conduct.

| 15. On information and belief, Defendant Zhao Yinhang (“Zhao”), d/b/a Baby
Artifact, is an individual who resides in China who personally participated in and/or had the
right and ability to supervise, direct, and control the wrongful conduct alleged in this

Complaint, and derived a direct financial benefit from that wrongful conduct.

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16. On information and belief, Defendant Zhang Qi (““Q. Zhang”), d/b/a Baby
Artifact, is an individual who resides in China who personally participated in and/or had the
right and ability to supervise, direct, and control the wrongful conduct alleged in this
Complaint, and derived a direct financial benefit from that wrongful conduct.

17. On information and belief, Defendant Li Shuang Yin (“Li”), d/b/a Baby Artifact,
is an individual who resides in China who personally participated in and/or had the right and
ability to supervise, direct, and control the wrongful conduct alleged in this Complaint, and
derived a direct financial benefit from that wrongful conduct.

18. On information and belief, Defendant Suuan Yuadn (“Suuan”), d/b/a Baby
Artifact, is an individual who resides in China who personally participated in and/or had the
right and ability to supervise, direct, and control the wrongful conduct alleged in this
Complaint, and derived a direct financial benefit from that wrongful conduct.

19. On information and belief, Defendant Chen Guangzhao (“Chen”), d/b/a
Ceciltga, is an individual who resides in China who personally participated in and/or had the
right and ability to supervise, direct, and control the wrongful conduct alleged in this
Complaint, and derived a direct financial benefit from that wrongful .conduct.

20. On information and belief, Defendant Carolyn Meyer (“Meyer”), d/b/a Ceciltga,
is an individual who resides in China who personally participated in and/or had the right and
ability to supervise, direct, and control the wrongful conduct alleged in this Complaint, and
derived a direct financial benefit from that wrongful conduct.

21. On information and belief, Defendant Zhang Jin Yong (“Y.J. Zhang”), d/b/a
Spenceria, is an individual who resides in China who personally participated in and/or had the
right and ability to supervise, direct, and control the wrongful conduct alleged in this
Complaint, and derived a direct financial benefit from that wrongful conduct.

22. On information and belief, Defendants Does 1-10 (the “Doe Defendants”) are

individuals and entities working in active concert with each other and the named Defendants to

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knowingly and willfully manufacture, import, advertise, market, offer, and sell counterfeit J.L.
Childress products. The identities of Does 1-10 are presently unknown to Plaintiffs.
“OIL. JURISDICTION AND VENUE

23. The Court has subject matter jurisdiction over Amazon and J.L. Childress’
Lanham Act claims for 1) trademark infringement; and 2) false designation and false
advertising pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a). The Court has
subject matter jurisdiction over Amazon and J.L. Childress’ claim for violation of the
Washington Consumer Protection Act pursuant to 28 U.S.C. §§ 1332 and 1367.

24. The Court has personal jurisdiction over all Defendants because they transacted
business and committed tortious acts within and directed to the State of Washington, and
Amazon’s and J.L. Childress’ claims arise from those activities. Defendants affirmatively
undertook to do business with Amazon, a corporation with its principal place of business in
Washington, and sold through its stores products bearing counterfeit versions of the J.L.
Childress trademark and which otherwise infringed J.L. Childress’ IP. Defendants shipped
products bearing counterfeit versions of the J.L. Childress trademark to consumers in
Washington. Each of the Defendants committed, or facilitated the commission of, tortious acts
in Washington and has wrongfully caused Amazon and J.L. Childress substantial injury in
Washington. :

25. Further, the named Defendants have consented to the jurisdiction of this Court
by agreeing to the Amazon Services Business Solutions Agreement (“BSA”), which provides
that the “Governing Courts” for claims to enjoin infringement or misuse of intellectual property
rights are state or federal courts located in King County, Washington.

26. | Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a
substantial part of the events giving rise to the claims occurred in the Western District of
Washington.

27. Venue is proper in this Court also with respect to Defendants by virtue of the

allegations stated in paragraph 24 above, which are incorporated herein.

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28. Pursuant to Local Civil Rule 3(d), intra-district assignment to the Seattle
Division is proper because the claims arose in this Division, where (a) Amazon resides, (b)

injuries giving rise to suit occurred, and (c) Defendants directed their unlawful conduct.

IV. FACTS

A. Amazon’s Efforts to Prevent the Sale of Counterfeit Goods

29. | Amazon works hard to build and protect the reputation of its stores as places
where customers can conveniently select from a wide array of authentic goods and services at
competitive prices. Amazon invests a vast amount of resources to ensure that when customers
make purchases through Amazon’s stores—either directly from Amazon or from one of its
millions of third-party sellers—customers receive authentic products made by the true
manufacturer of those products.

30. A small number of bad actors seeks to take advantage of the trust customers
place in Amazon by attempting to create Amazon Selling Accounts to advertise, market, offer,
and sell counterfeit products. These bad actors seek to misuse and infringe the trademarks and
other IP of the true manufacturers of those products to deceive Amazon and its customers. This
unlawful and expressly prohibited conduct undermines the trust that customers, sellers, and
manufacturers place in Amazon, and tarnishes Amazon’s brand and reputation, thereby causing
irreparable harm.

31. Amazon prohibits the sale of inauthentic and fraudulent products and is
constantly innovating on behalf of customers and working with brands, manufacturers, rights
owners, and others to improve the detection and prevention of counterfeit products ever being
offered to customers through Amazon’s stores. Amazon employs dedicated teams of software
engineers, research scientists, program managers, and investigators to prevent counterfeits from
being offered in Amazon’s stores. Amazon’s systems automatically and continuously scan
thousands of data points to detect and remove counterfeits from its stores and to terminate the
Selling Accounts of bad actors before they can offer counterfeit products. Each week Amazon

monitors more than 45 million pieces of feedback it receives from customers, rights owners,

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regulators, and selling partners. When Amazon identifies issues based on this feedback, it
takes action to address them. Amazon uses this intelligence also to improve its proactive
prevention controls.

32. In 2017, Amazon launched the Amazon Brand Registry, a free service to any
rights owner with a government-registered trademark, regardless of the brand’s relationship
with Amazon. Brand Registry delivers automated brand protections that use machine learning
to predict infringement and proactively protect brands’ IP. Brand Registry also provides a
powerful Report a Violation Tool that allows brands to search for and accurately report
potentially infringing products using state-of-the-art image search technology. More than
350,000 brands, including J.L. Childress, are enrolled in Brand Registry, and those brands are
finding and reporting 99% fewer suspected infringements since joining Brand Registry.

33. In 2018, Amazon launched Transparency, a product serialization service that
effectively eliminates counterfeits for enrolled products. Brands enrolled in Transparency can
apply a unique 2D code to every unit they manufacture, which allows Amazon, other retailers,
law enforcement, and customers to determine the authenticity of any Transparency-enabled
product, regardless of where the product was purchased. Since Transparency’s launch in 2018,
over 7,500 brands have enrolled, protecting brands and customers from counterfeits being sold
in the Amazon stores.

34. In 2019, Amazon launched Amazon Project Zero, a program. to empower brands
to help Amazon drive counterfeits to zero. Amazon Project Zero introduced a novel self-
service counterfeit removal tool that enables brands to remove counterfeit listings directly from
Amazon stores. This enables brands to take down counterfeit product offerings on their own
within minutes. Since the program launched in 2019, over 9,000 brands have enrolled.

35. In addition to these measures, Amazon actively cooperates with rights owners
and law enforcement to identify and prosecute bad actors suspected of engaging in illegal
activity. Lawsuits, like this one, are integral components of Amazon’s efforts to combat

counterfeits.

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B. J.L. Childress and Its Anti-Counterfeiting Efforts

36. J.L. Childress goes to great lengths to protect consumers from counterfeits of its
products, and is committed to leading efforts to combat counterfeit products. J.L. Childress
utilizes both internal and external resources to combat counterfeits, piracy and distribution
abuse online. This includes trained internal staff who consistently monitor online retailer sites
around the world for IP infringements and counterfeit sellers. J.L. Childress also works with a
third-party brand protection service vendor on the detection and removal of product listings
violating J.L. Childress’ intellectual property rights. Protecting the J.L. Childress trademark is
more than just a business function, it is safeguarding the exploitation of a mother’s name and a
family’s legacy.

37. J.L. Childress is currently enrolled in Amazon Brand Registry and Project Zero,
and is also a participant in the Amazon Transparency program. J.L. Childress began actively
using the tools and protections provided by these programs after and in response to the

counterfeiting activity described in this Complaint.

C. Defendants Created Amazon Selling Accounts and Agreed Not to Sell
Counterfeit Goods

38. Defendants controlled and operated the six Amazon Selling Accounts detailed in
section D below through which they sought to advertise, market, sell, and distribute counterfeit
J.L. Childress products. In connection with these Selling Accounts, Defendants provided
names, email addresses, and banking information for each account.

39. To become a third-party seller in Amazon’s stores, sellers are required to agree
to the BSA, which governs the applicant’s access to and use of Amazon’s services and states
Amazon’s rules for selling through the website. By entering into the BSA, each seller
represents and warrants that it “will comply with all applicable laws in [the] performance of
[its] obligations and exercise of [its] rights” under the BSA. A true and correct copy of the .
applicable version of the BSA, namely, the version when Defendants last used Amazon’s

Services, is attached as Exhibit B.

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40. _ The BSA incorporates and sellers therefore agree to be bound by Amazon’s
Anti-Counterfeiting Policy, the applicable version of which is attached as Exhibit C. The

Anti-Counterfeiting Policy expressly prohibits the sale of counterfeit goods in the Amazon

stores:
e The sale of counterfeit products is strictly prohibited.
e You may not sell any products that are not legal for sale, such as products
that have been illegally replicated, reproduced, or manufactured[.]
e You must provide records about the authenticity of your products if Amazon
requests that documentation[.]
Failure to abide by this policy may result in loss of selling privileges, funds
being withheld, destruction of inventory in our fulfilment centers, and other
legal consequences.
Id.

41. | Amazon’s Anti-Counterfeiting Policy further describes Amazon’s commitment
to preventing the sale and distribution of counterfeit goods in Amazon stores together with the

consequences of doing so:

e Sell Only Authentic and Legal Products. It is your
responsibility to source, sell, and fulfill only authentic
products that are legal for sale. Examples of prohibited
products include:

o Bootlegs, fakes, or pirated copies of products or content

o Products that have been illegally replicated, reproduced,
or manufactured ~

o Products that infringe another party’s intellectual property
rights

e Maintain and Provide Inventory Records. Amazon may
request that you provide documentation (such as invoices)
showing the authenticity of your products or your
authorization to list them for sale. You may remove pricing
information from these documents, but providing documents
that have been edited in any other way or that are misleading
is a violation of this policy and will lead to enforcement
against your account.

e Consequences of Selling Inauthentic Products. If you sell
inauthentic products, we may immediately suspend or
terminate your Amazon selling account (and any related

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accounts), destroy any inauthentic products in our fulfillment
centers at your expense, and/or withhold payments to you.

e Amazon Takes Action to Protect Customers and Rights
Owners. Amazon also works with manufacturers, rights
holders, content owners, vendors, and sellers to improve the
ways we detect and prevent inauthentic products from
reaching our customers. As a result of our detection and
enforcement activities, Amazon may:

o Remove suspect listings.

o Take legal action against parties who knowingly violate
this policy and harm our customers. In addition to
criminal fines and imprisonment, sellers and suppliers of
inauthentic products may face civil penalties including the
loss of any amounts received from the sale of inauthentic —
products, the damage or harm sustained by the rights
holders, statutory and other damages, and attorney’s fees.

e Reporting Inauthentic Products. We stand behind the products
sold on our site with our A-to-z Guarantee, and we encourage
rights owners who have product authenticity concerns to
notify us. We will promptly investigate and take all

- appropriate actions to protect customers, sellers, and rights

holders. You may view counterfeit complaints on the
Account Health page in Seller Central.

Id.

42. When they registered as a third-party seller in Amazon’s stores, and established
their Selling Accounts, Defendants agreed not to advertise, market, offer, sell or distribute
counterfeit products.

D. Test Purchases from Defendants’ Selling Accounts

43. Defendants advertised, marketed, offered, and sold J.L. Childress-branded
products in the Amazon stores. J.L. Childress has conducted multiple test purchases from the
Defendants’ Selling Accounts and determined that the products are counterfeit and each bears a
counterfeit J.L. Childress registered trademark.

Selling Account #1 — Kelvee

44. Atall times described herein, ‘Selling Account Kelvee was controlled and
operated by Defendants Tang and J. Zheng and, on information and belief, other parties, known

and unknown.

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45. On September 17, 2019, J.L. Childress conducted a test purchase from Selling
Account Kelvee for what was advertised as a J.L. Childress branded Gate Check Bag for
Standard & Double Strollers. Defendants shipped to J.L. Childress a product that bore.the J.L.
Childress trademark and other indications of its brand. J.L. Childress has examined the product
and determined that it is counterfeit. A depiction comparing the counterfeit product supplied

by Defendants with an authentic version of the product follows:

blurry photos, dark packaging Authentic J.L. Childress
that DOES NOT meet product: clear picture, color

brand OA policy match

BATE CHECK
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46. On October 1, 2019, J.L. Childress conducted a test purchase from Selling
Account Kelvee for what was advertised as a J.L. Childress branded Gate Check Bag for
Standard & Double Strollers. Defendants shipped to J.L. Childress a product that bore the J.L.
Childress trademark and other indications of its brand. J.L. Childress has examined the product
and determined that it is counterfeit. A depiction comparing the counterfeit product supplied

by Defendants with an authentic version of the product follows:

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Authentic J.L. Childress

blurry photos, dark
coloration DOES NOT
meet :
brand color printing
QA policy

Product is folded
incorrectly and stuff
pouch is too small.

 

47. On November 8, 2019, J.L. Childress conducted a test purchase from Selling
Account Kelvee for what was advertised as a J.L. Childress branded Gate Check Bag for
Umbrella Strollers. Defendants shipped to J.L. Childress a product that bore the J.L. Childress
trademark and other indications of its brand. J.L. Childress has examined the product and
determined that it is counterfeit. A depiction comparing the counterfeit product supplied by

Defendants with an authentic version of the product follows:

blurry photos, dark packaging Authentic 1.L. Childress
that DOES NOT meet product: clear picture, color
brand QA policy match

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48. On November 12, 2019, J.L. Childress conducted a test purchase from Selling

Account Kelvee for what was advertised as a J.L. Childress branded Gate Check Bag for

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Standard & Double Strollers and what was advertised as a J.L. Childress branded Gate Check
Bag for Umbrella Strollers. Defendants shipped to J.L. Childress products that bore the J.L.
Childress trademark and other indications of its brand. J.L. Childress has examined these
products and determined that they are counterfeit. A depiction comparing the counterfeit

products supplied by Defendants with authentic versions of those products follows:

fouble-line sewing allowance is 1/8" In
counterfeit and 4" in authentic JL
product

Different material with a hentic LL Childress
different warn/welt,

  

Material is completely Auihentic LL. Childress
different. Red spancex
material % mette
finish, differant quality Red spanciex has a
and color sheen texture.

Double-dine sewing allowance lc 1/8" in
counterfeit and %” in authentic JLC
product

 

Selling Account #2 — Mibim

49. At all times described herein, Selling Account Mibim was controlled and

operated by Defendant J.S. Zheng and, on information and belief, other parties, known and

unknown.

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50. On July 30, 2019, J.L. Childress conducted a test purchase from Selling Account
Mibim for what was advertised as a J.L. Childress branded Gate Check Bag for Car Seats.
Defendants shipped to J.L. Childress a product that bore the J.L. Childress trademark and other
indications of its brand. J.L. Childress has examined the product and determined that it is
counterfeit. A depiction comparing the counterfeit product and an authentic version of the
product follows:

Authentic J.L. Childress

blurry photo, muted and off- product: clear picture, rich
color, black text is flattened, not packaging colors, black text
crisp, without defined edges is defined and sharp

ee “ > Ee 4
> Ag, __ AIR TRAVEL BAG FoR
, SAC DE VOYAGE agi

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51. On September 17, 2019, J.L. Childress conducted a test purchase from Selling
Account Mibim for what was advertised as a J.L. Childress branded Gate Check Bag for Car
Seats. Defendants shipped to J.L. Childress a product that bore the J.L. Childress trademark
and other indications of its brand. J.L. Childress has examined the product and determined that
it is counterfeit. A depiction comparing the counterfeit product supplied by Defendants and an

authentic version of the product follows:

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Aothentie.Ll Childress
product clear picture, neh
patkuging colors meet
brand Standards

blue oholeg, muted and aff
color photos DO NOT meet
brand QA policy

52. On October 7, 2019, J.L. Childress conducted a test purchase from Selling
Account Mibim for what was advertised as a J.L. Childress branded Gate Check Bag for Car
Seats. Defendants shipped to J.L. Childress a product that bore the J.L. Childress trademark
and other indications of its brand. J.L. Childress has examined the product and determined that
it is counterfeit. A depiction comparing the counterfeit product supplied by Defendants with an

authentic version of the product follows:

Counterteit

1/8" double-line sewing

Authenticdss
Childress

4" double-line sewing

Selling Account #3 — Haioumo

53. At all times described herein, Selling Account Haioumo was controlled and

operated by Defendant Pan and, on information and belief, other parties, known and unknown.

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54. In November 2019, J.L. Childress observed on Selling Account Haioumo a high
volume of sales of products advertised as J.L. Childress branded Gate Check Bags for Standard
& Double Strollers, Gate Check Bags for Car Seats, and Gate Check Bags for Umbrella
Strollers. This volume of sales siii ficantly exceeded the volume of authentic J.L. Childress

products any distributor could conceivably have available based on J.L. Childress’ distribution

channels and manufacturing volumes, leading J.L. Childress to conclude that the products were

counterfeit.

Selling Account #4 — Baby Artifact f/k/a Suuan Yuadn (collectively, “Baby
Artifact”)

55. At all times described herein, Selling Account Baby Artifact was controlled and
operated by Defendants Zhao, Q. Zhang, Li, and Suuan and, on information and belief, other
parties, known and unknown.

56. On July 30, 2019, J.L. Childress conducted a test purchase from Selling Account
Baby Artifact for what was advertised as a J.L. Childress branded Gate Check Bag for Car
Seats. Defendants shipped to J.L. Childress a product that bore the J.L. Childress trademark
and other indications of its brand. J.L. Childress has examined the product and determined that
it is counterfeit. A depiction comparing the counterfeit product supplied by Defendants with an _

authentic version of the product follows:

Materials
completely
different: Red
spandex material
ig matte finish,
different quality
arid colar.

Authentic sc,
Childnass

Red spandex has
wsheen }

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57. On August 14, 2019, J.L. Childress conducted a test purchase from Selling
Account Baby Artifact for what was advertised as a J.L. Childress branded Gate Check Bag for
Car Seats. Defendants shipped to J.L. Childress a product that bore the J.L. Childress
trademark and other indications of its brand. J.L. Childress has examined the product and
determined that it is counterfeit. A depiction comparing the counterfeit product supplied by

Defendants with an authentic version of the product follows:

   
 
  

blurry photos, dark packagirig Authentic LL. Childress
that DOES NOT meet product: clear picture, color
brand QA policy match

38. | On October 18, 2019, J.L.. Childress conducted a test purchase from Selling
Account Baby Artifact for what was advertised as a J.L. Childress branded Gate Check Bag for
Car Seats. Defendants shipped to J.L. Childress a product that bore the J.L. Childress
trademark and other indications of its brand. J.L. Childress has examined the product and
determined that it is counterfeit. A depiction comparing the counterfeit product supplied by

Defendants with an authentic version of the product follows:

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Authentic Li. Childtess

blurry photos; dark
coloration DOES NOT
meet
brand color printing
OA policy

Product is folded
incorrectly; stuff pouch
is Incorrect
dimensions.

Selling Account #5 — Ceciltga f/k/a Carolyn Meyer (collectively, “Ceciltga”)

59. At all times described herein, Selling Account Ceciltga was controlled and
operated by Defendants Chen and Meyer and, on information and belief, other parties, known
and unknown.

60. On September 17, 2019, J.L. Childress conducted a test purchase from Selling

Account Ceciltga for what was advertised as a J.L. Childress branded Gate Check Bag for

_ Umbrella Strollers. Defendants shipped to J.L. Childress a product that bore the J.L. Childress

trademark and other indications of its brand. J.L. Childress has examined the product and
determined that it is counterfeit. A depiction comparing the counterfeit product supplied by

Defendants with an authentic version of the product follows:

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blurry photos, dark packaging Authentic LL. Childress
that DOES NOT meet product: clear picture, color
brand QA policy match

61. On October 1, 2019, J.L. Childress conducted a test purchase from Selling

Account Ceciltga for what was advertised as a J.L. Childress branded Gate Check Bag for
Umbrella Strollers. Defendants shipped to J.L. Childress a product that bore the J.L. Childress
trademark and other indications of its brand. J.L. Childress has examined the product and
determined that it is counterfeit. A depiction comparing the counterfeit product supplied by _

Defendants with an authentic version of the product follows:

Counterfelt : ; Authentic LL. Childress

Bag is folded -. When unfolded, bag is
incorrectly. _ longer.

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Selling Account #6 — Spenceria

62. — Atall times described herein, Selling Account Spenceria was controlled and
operated by Defendant Y.J. Zhang and, on information and belief, other parties, known and
unknown. |

63. ©. On October 1, 2019, J.L. Childress conducted a test purchase from Selling
Account Spenceria for what was advertised as a J.L. Childress branded Gate Check Bag for Car
Seats. Defendants shipped to J.L. Childress a product that bore the J.L. Childress trademark
and other indications of its brand. J.L. Childress has examined the product and determined that
it is counterfeit. A depiction comparing the counterfeit product supplied by Defendants with an

authentic version of the product follows:

 
  
 

Authentic JL. Childress
blurry photes, muted and off product: clear picture, rich
color photos GO NOT meet packaging colors meet

brand OA policy brand standards

  

64; On November 12, 2019, J.L. Childress conducted a test purchase from Selling
Account Spenceria for what was advertised as a J.L. Childress branded Gate Check Bag for Car
Seats. Defendants shipped to J.L. Childress a product that bore the J.L. Childress trademark
and other indications of its brand. J.L. Childress has examined the product and determined that
it is counterfeit. A depiction comparing the counterfeit product supplied by Defendants with an

authentic version of the product follows:

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Double ine sewlng allowance ig 1/6" in
counterfeitand 4” in guthenticdIle
product

 

E. Defendants’ Coordinated Sale of Counterfeit J.L. Childress Products

65. — On information and belief, Defendants operated in concert with one another in
their counterfeiting activities including, in some instances, sourcing their counterfeits from the
same supplier and using common logistics companies to illegally import the counterfeits into
and within the United States.

F. Amazon and J.L. Childress Shut Down Defendants’ Accounts

66. —. By selling counterfeit J.L. Childress products, Defendants falsely represented to
Amazon and its customers that the products Defendants sold were genuitié products made by
J.L. Childress. Defendants also knowingly and willfully used J.L. Childress’ IP in connection
with the advertisement, marketing, distribution, offering for sale, and sale of counterfeit J.L.
Childress products.

| 67. . Atall times, Defendants knew they were prohibited from violating third-party IP
rights or any applicable laws while selling products in Amazon’s stores. Defendants have
deceived Amazon’s customers and Amazon, infringed and misused the IP rights of J.L.
Childress, harmed the integrity of and customer trust in Amazon’s stores, and tarnished
Amazon’s and J.L. Childress’ brands.
68. Amazon, after receiving notice from J.L. Childress, verified Defendants’

unlawful sale of counterfeit J.L. Childress products and promptly blocked Defendants’ Selling

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Accounts. In doing so, Amazon exercised its rights under the BSA to protect customers and the

reputations of Amazon and J.L. Childress.

V. CLAIMS
FIRST CLAIM

(by J.L. Childress against all Defendants)
Trademark Infringement — 15 U.S.C. § 1114

69. Plaintiff J.L. Childress incorporates by reference the allegations of the preceding
paragraphs as though set forth herein.

70. Defendants’ activities constitute infringement of the J.L. Childress trademark as
described in the paragraphs above.

71. J.L. Childress advertises, markets, offers, and sells its products using the J.L.
Childress trademark described above and uses that trademark to distinguish its products from
the products and related items of others in the same or related fields.

72. Because of J.L. Childress’ long, continuous, and exclusive use of the J.L.
Childress trademark identified in this Complaint, the trademark has come to mean, and is
understood by customers and the public to signify, products from J.L. Childress.

73. Defendants unlawfully advertised, marketed, offered, and sold products bearing
counterfeit versions of the J.L. Childress trademark with the intent and likelihood of causing
customer confusion, mistake, and deception as to the products’ source, origin, and authenticity.
Specifically, Defendants intended customers to believe, incorrectly, that the products originated
from, were affiliated with, and/or were authorized by J.L. Childress and likely caused such
erroneous customer beliefs.

74. As aresult of Defendants’ wrongful conduct, J.L. Childress is entitled to recover
its actual damages, Defendants’ profits attributable to the infringement, and treble damages and
attorney fees pursuant to 15 U.S.C. § 1117(a) and (b). Alternatively, J.L. Childress is entitled
to statutory damages under 15 U.S.C. § 1117(c).

75. J.L. Childress is further entitled to injunctive relief, including an order

impounding all infringing products and promotional materials in Defendants’ possession. J.L.

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Childress has no adequate remedy at law for Defendants’ wrongful conduct because, among
other things: (a) the J.L. Childress trademark is unique and valuable property that has no
readily determinable market value; (b) Defendants’ infringement constitutes harm to J.L.
Childress and J.L. Childress’ reputation and goodwill such that J.L. Childress could not be
made whole by any monetary award; (c) if Defendants’ wrongful conduct is allowed to
continue, the public is likely to become further confused, mistaken, or deceived as to the
source, origin, or authenticity of the infringing materials; and (d) Defendants’ wrongful

conduct, and the resulting harm to J.L. Childress, is likely to be continuing.

SECOND CLAIM
(by J.L. Childress against all Defendants)
False Designation of Origin and False Advertising — 15 U.S.C. § 1125(a)

76. Plaintiff J.L. Childress incorporates by reference the allegations of the preceding
paragraphs as though set forth herein.

77. J.L. Childress owns the J.L. Childress trademark and advertises, markets, offers,
and sells its products using the trademark described above and uses the trademark to distinguish
its products from the products and related items of others in the same or related fields.

78. Because of J.L. Childress’ long, continuous, and exclusive use of the J.L.
Childress trademark, it has come to mean, and is understood by customers, end users, and the
public, to signify products from J.L. Childress.

79. Defendants’ wrongful conduct includes the infringement of the J.L. Childress
trademark in connection with Defendants’ commercial advertising or promotion, and offering
for sale and sale, of counterfeit J.L. Childress products in interstate commerce.

80. In advertising, marketing, offering, and selling products bearing counterfeit
versions of the J.L. Childress trademark, Defendants have used, and on information and belief
continue to use, the trademark referenced above to compete unfairly with J.L. Childress and to
deceive customers. Upon information and belief, Defendants’ wrongful conduct misleads and

confuses customers and the public as to the origin and authenticity of the goods and services

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advertised, marketed, offered, or sold in connection with the J.L. Childress trademark and
wrongfully trades upon J.L. Childress’ goodwill and business reputation.

81. | Defendants’ conduct constitutes (a) false designation of origin, (b) false or
misleading description, and (c) false or misleading representation that products originate from
or are authorized by J.L. Childress, all in violation of 15 U.S.C. § 1125(a)(1)(A).

82. Defendants’ conduct also constitutes willful false statements in connection with
goods and/or services distributed in interstate commerce in violation of 15 U.S.C.

§ 1125(a)(1)(B).

83. J.L. Childress is entitled to an injunction against Defendants, their officers,
agents, representatives, servants, employees, successors and assigns, and all other persons in
active concert or participation with them, as set forth in the Prayer for Relief below.
Defendants’ acts have caused irreparable injury to J.L. Childress. The injury to J.L. Childress
is irreparable, and on information and belief, is continuing. An award of monetary damages
cannot fully compensate J.L. Childress for its injuries, and J.L. Childress lacks an adequate
remedy at law.

84. J.L. Childress is further entitled to recover Defendants’ profits, J.L. Childress’
damages for its losses, and J.L. Childress’ costs to investigate and remediate Defendants’
conduct and bring this action, including its attorney’s fees, in an amount to be determined. J.L.

Childress is also entitled to the trebling of any damages award as allowed by law.

THIRD CLAIM
(by Amazon against all Defendants)
False Designation of Origin and False Advertising — 15 U.S.C. § 1125(a)

85. Plaintiff Amazon incorporates by reference the allegations of the preceding
paragraphs as though set forth herein.

86. | Amazon’s reputation for trustworthiness is at the heart of its relationship with
customers. Defendants’ actions in selling counterfeits pose a threat to Amazon’s reputation

because they undermine and jeopardize customer trust in Amazon stores.

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87. Specifically, Defendants deceived Amazon and its customers about the
authenticity of the products they were advertising, marketing, offering, and selling, in direct
and willful violation of the BSA and Amazon’s Anti-Counterfeiting Policies. Defendants’
deceptive acts were material to Amazon’s decision to allow Defendants to sell their products in
the Amazon stores because Amazon would not have allowed Defendants to do so but for their
deceptive acts.

88. In advertising, marketing, offering, and selling counterfeit J.L. Childress
products in Amazon’s stores, Defendants made false and misleading statements of fact about
the origin, sponsorship, or approval of those products in violation of 15 U.S.C. § 1125(a)(1)(A).

89. Defendants’ acts also constitute willful false statements in connection with
goods and/or services distributed in interstate commerce in violation of 15 U.S.C.

§ 1125(a)(1)(B).

90. As described above, Defendants, through their illegal acts, have willfully
deceived Amazon and its customers, jeopardized the trust that customers place in Amazon’s
stores, tarnished Amazon’s brand and reputation, and harmed Amazon and its customers.
Defendants’ misconduct has also caused Amazon to expend significant resources to investigate
and combat Defendants’ wrongdoing and to bring this lawsuit to prevent Defendants from
causing further harm to Amazon and its customers. Defendants’ illegal acts have caused
irreparable injury to Amazon and, on information and belief, that injury is ongoing at least to
the extent that Defendants continue to establish seller accounts under different or false
identities. An award of monetary damages alone cannot fully compensate Amazon for its
injuries, and thus Amazon lacks an adequate remedy at law.

91. | Amazon is entitled to an injunction against Defendants, their officers, agents,
representatives, servants, employees, successors and assigns, and all other persons in active
concert or participation with them, as set forth in the Prayer for Relief below, along with its

attorneys’ fees and costs in bringing this lawsuit.

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FOURTH CLAIM
(by J.L. Childress and Amazon against all Defendants)
Violation of Washington Consumer Protection Act, RCW 19.86.010, et seq.

92. Plaintiffs incorporate by reference the allegations of the preceding paragraphs as
though set forth herein.

93. Defendants’ advertising, marketing, offering, and selling of counterfeit J.L.
Childress products constitute an unfair method of competition and unfair and deceptive acts or
practices in the conduct of trade or commerce, in violation of RCW 19.86.020.

94. Defendants’ advertising, marketing, offering, and selling of counterfeit J.L.
Childress products harms the public interest by deceiving customers about the authenticity,
origins, and sponsorship of the products.

95. Defendants’ advertising, marketing, offering, and selling of counterfeit J.L.
Childress products directly and proximately causes harm to and tarnished Plaintiffs’ reputations
and brands, and damages their business and property interests and rights.

96. Accordingly, Plaintiffs seek to enjoin further violations of RCW 19.86.020 and
recover their attorneys’ fees and costs. J.L. Childress further seeks to recover its actual
damages, trebled.

VI. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully pray for the following relief:

A. That the Court issue an order permanently enjoining Defendants, their officers,
agents, representatives, servants, employees, successors, and assigns, and all others in active
concert or participation with them, from:

(i) selling products in any of Amazon’s stores;

(ii) selling products to Amazon or any affiliate;

(iii) | opening or attempting to open any Amazon Selling Accounts;

(iv) manufacturing, distributing, offering to sell, or selling any product using
J.L. Childress’ brand or trademarks, or which otherwise infringes J.L.

Childress’ intellectual property;

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(v) assisting, aiding or abetting any other person or business entity in
engaging or performing any of the activities referred to in subparagraphs _
(i) through (iv) above;

B. That the Court enter judgment in Plaintiffs’ favor on all claims brought by them;

C. That the Court enter an order pursuant to 15 U.S.C. § 1116 impounding all
counterfeit and infringing products bearing the J.L. Childress trademark or that otherwise
infringe J.L. Childress’ IP, and any related materials, including business records, in
Defendants’ possession or under their control;

D. That the Court enter an order requiring Defendants to provide Plaintiffs a full
and complete accounting of all amounts due and owing to Plaintiffs as a result of Defendants’
unlawful activities;

E. That Defendants be required to pay all general, special, and actual damages
which J.L. Childress has sustained, or will sustain as a consequence of Defendants’ unlawful
acts, together with statutory damages, and that such damages be enhanced, doubled, or trebled
as provided for by 15 U.S.C. § 1117(b), RCW 19.86.020, or otherwise allowed by law;

F. That Defendants be required to pay the costs of this action and Plaintiffs’
reasonable attorneys” fees incurred in prosecuting this action, as provided for by 15 U.S.C.

§ 1117, RCW 19.86.020, or otherwise allowed by law; and
G. That the Court grant Plaintiffs such other, further, and additional relief as the

Court deems just and equitable.

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DATED this 10th day of August, 2020.

DAVIS WRIGHT TREMAINE LLP
Attorneys for Plaintiffs

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Nathan W. Rouse WSBA #46433

 

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